      Case 2:22-cr-00192-MHH-SGC Document 1 Filed 05/25/22 Page 1 of 2                       FILED
                                                                                    2022 May-26 AM 11:52
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA



                                                          PFE/KMP June 2022
                                                                    GJ#18

               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
                 v.                                 )     No.
                                                    )
FREDRICK LEONARD TEMPLE, JR.                        )

                                  INDICTMENT

COUNT ONE: [18 U.S.C. ' 922(o)]


      The Grand Jury charges that:

      On or about the 26th day of January 2022, in Jefferson County, within the

Northern District of Alabama, the defendant,

                      FREDRICK LEONARD TEMPLE, JR.,

did knowingly possess a machinegun, that is, a Glock 9mm pistol with a Glock

conversion device with a selector switch attached to the frame of the firearm, in

violation of Title 18, United States Code, Sections 922(o) and 924(a)(2).



COUNT TWO: [26 U.S.C. ' 5861(d)]


      The Grand Jury further charges that:
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      On or about the 26th day of January 2022, in Jefferson County, within the

Northern District of Alabama, the defendant,

                    FREDRICK LEONARD TEMPLE, JR.,

knowingly received and possessed a firearm, a Glock 9mm pistol with a Glock

conversion device with selector switch attached to the frame of the firearm, not

registered to him in the National Firearms Registration and Transfer Record, in

violation of Title 26, United States Code, Sections 5841, 5861(d) and 5871.



A TRUE BILL

/s/ Electronic Signature
FOREPERSON OF THE GRAND JURY

                                            PRIM F. ESCALONA
                                            United States Attorney

                                            /s/ Electronic Signature
                                            KRISTY M. PEOPLES
                                            Assistant United States Attorney
